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   This document was previously filed
   under seal at ECF 34-3 (Exhibit B -
   FILED UNDER SEAL) and ECF 35-1
   (Exhibit A - FILED UNDER SEAL).


                  EXHIBIT A

     FILED
PROPOSED REDACTIONS HIGHLIGHTED
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                                                          Liberty Square Building
                                                          450 5th Street, N.W. Suite 4100
                                                          Washington, DC 20001


                                                        February 23, 2022



Ms. Leigh Oliver Esq.
Hogan Lovells US LLP
Columbia Square
555 Thirteenth Street, NW
Washington, DC 20004

                  Re: UnitedHealth Group’s Proposed Acquisition of Change Healthcare

Dear Ms. Oliver:

I write in response to your letter of February 18, 2022, to Principal Deputy Assistant
Attorney General Mekki. While we appreciate the parties’ recent engagement with the
Antitrust Division concerning UnitedHealth Group’s (“United” or “UHG”) proposed
acquisition of Change Healthcare Inc. (“Change”), we take issue with and must clarify
the record regarding your characterization of the Division’s investigation.

First, you state in your letter that you are surprised that the Antitrust Division has factual
questions regarding the proposed transaction after 14 months of investigation. As staff
has made clear, the Antitrust Division’s investigation of the proposed transaction has
been contentious and protracted because the merging parties have delayed providing data
and documents. To provide a few examples:

        Change did not complete its customer contact lists in response to staff’s
         voluntary request letter, which staff sent on January 23, 2021, until March
         10, 2021,1 while United took until February 26, 2021.2

        UHG did not produce organizational charts for its OptumInsight
         subsidiary—let alone its UnitedHealthcare and Optum Health
         subsidiaries—until a month after the Division issued the Second Request.3
         Even then, the organizational charts and custodian proposal were woefully
         inadequate,4 and certain obvious custodians were omitted from the


1
  Email from P. Miller to B. Bhagat et al. (Mar. 10, 2021).
2
  Email from A. Howlett to M Brazill et al. (Feb. 26, 2021).
3
  Email from A. Howlett to B. Bhagat et al. (Apr. 23, 2021).
4
  See id. (organizational charts omit several parts of the organization, many employees at the level same of
the corporate hierarchy, as well as each custodian’s number of reports, while custodian proposal omits
numerous employees who were later selected as custodians, including five CID deponents). Indeed, the
person you identified last week as the correct employee to ask about data rights,                , was not
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         staff in mid-August 2021,14 while United’s obstinacy persisted well past
         its purported certification of compliance with the Second Request on
         September 20, 2021.15 As you also know, staff discovered serious
         deficiencies in United’s data productions, beginning with UHG’s initial
         data production on July 30, 2021. For almost 11 weeks, staff attempted to
         obtain timely information from United on this issue.16 This process was
         very difficult and answers were not forthcoming from United. Finally, 10
         weeks after United purported to certify compliance, United produced to
         the Division its clearinghouse data from March to December 2019.
Given the size, complexity, and significance of the proposed transaction, the parties’
untimely and often incomplete productions and spotty engagement hindered the
Division’s investigation and increased the time and resources required to reach a decision
on this matter. Thus, while the Division has had an open investigation into this
transaction for approximately 14 months, the Division actually had a fraction of that time
to work with probative documents and data to make meaningful assessments of the
potential impact the proposed transaction would have in the healthcare industry.

Second, staff’s difficulties with the parties’ counsel were not confined to Second Request
negotiations. Staff also encountered significant problems with United’s document
production in particular. For example, after producing a privilege log comprising over
350,000 documents, for which you claimed United spent $                 ,17 United clawed
back many dozens of documents on assertions of privilege in a haphazard and chaotic
manner. These claw backs occurred after the Division had been working with United’s
productions for several months and occurred in the middle of a number of depositions, in
many cases causing great disruption. The documents clawed back go to central issues in
the investigation. Yet rather than cooperating with the Antitrust Division to get to the
facts on these issues, United has chosen to assert what appear to be specious claims of
privilege to keep the documents and information hidden.

Notwithstanding these difficulties, staff has continued to engage with counsel. We note
that while your letter suggests that staff has not engaged, both Messrs. Reilly and Gelfand
have stated otherwise and in fact have praised staff’s work with the parties. Finally, while
you refer to the parties’ submissions, it is important to remind you of the persistent
requests that staff has made of United for information regarding its data use rights which
United has still not provided.

Finally, your letter references staff’s declining your recent request for vertical math
calculations. As staff mentioned, last summer staff requested the parties’ analyses in this
regard, and you declined to provide any such analyses. That is the general course of
engagement: the parties provide their arguments, their proposed analyses, and staff then
considers those analyses, looks into our ability to replicate, and engages. Your clients
chose not to do that here. It is unreasonable to believe that instead the Division will

14
   See Meeting with Change (Aug. 13, 2021).
15
   See, e.g., Letter from M. Brazill to L. Oliver (Sept. 13, 2021); Letter from B. Bhagat to L. Oliver (Sept.
25, 2021); Letter from B. Bhagat et al. to L. Oliver et al. (Oct. 15, 2021);
16
   Email from M. Brazill to A. Howlett (Aug. 10, 2021); Email from M. Brazill to A. Howlett (Aug. 23,
2021); Email from M. Brazill to A. Howlett (Aug. 24, 2021); Email from M. Brazill to A. Howlett (Aug.
31, 2021); Letter from M. Brazill to L. Oliver (Sept. 13, 2021); Letter from B. Bhagat to L. Oliver (Sept.
25, 2021); Letter from B. Bhagat et al to L. Oliver et al. (Oct. 15, 2021); Modifications to Timing
Agreement (Nov. 1, 2021).
17
   Letter from L. Oliver to B. Bhagat et al. (Oct. 20, 2021).
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unilaterally disclose our internal analyses at the end of an investigation when there has
not been that cooperative engagement during the investigation.

Sincerely,

/s/ Eric D. Welsh
Eric D. Welsh
Chief
Healthcare and Consumer Products Section

cc:
Matt Reilly, Esq., Kirkland & Ellis LLP
Sara Razi, Esq., Simpson Thacher & Bartlett LLP
David Gelfand, Esq., Cleary Gottlieb Steen & Hamilton
